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                                        IN THE UNITED STATES DISTRICT COURT
                                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
    UNITED STATES OF AMERICA ex rel.
                                                                :              Civil Action
    ELLSWORTH ASSOCIATES, LLP
                                                                :
                     v.                                         :
                                                                :
    CVS HEALTH CORPORATION, et al.                              :              No.: 2:19-cv-02553-JMY


                                                             ORDER

                     AND NOW, this                  day of                                     20     , it is hereby

                                                     Ngwika "Crystal" Fomba
                     ORDERED that the application of ____________________________________, Esquire,

to practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) is



              □           GRANTED.1


              □           DENIED.




                                                                                                           , J.




1   Instructions to request electronic filing access can be found on this court's website at https://www.paed.uscourts.gov/
nextgen-cmecf.
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                                                IN THE UNITED STATES DISTRICT COURT
                                              FOR THE EASTERN DISTRICT OFPENNSYLVANIA

                                                                                                 Civil Action No#
                                                                                                                    2:19-cv-02553-JMY

                        APPLICATION FORM FOR THOSE ATTORNEYS SEEKING TO PRACTICE IN THIS COURT
                                  PURSUANT TO LOCAL RULE OF CIVIL PROCEDURE 83.5.2(b)

I. APPLICANT’S STATEMENT

         I, Ngwika "Crystal" Fomba                                the undersigned, am an attorney who is not currently admitted to
either the bar of this court or the bar of the Supreme Court of Pennsylvania, and I hereby apply for admission to practice in this
court pursuant to Local Rule of Civil Procedure 83.5.2(b), and am submitting a check, number               , for the $40.00 admission
fee.

A.      I state that I am currently admitted to practice in the following state jurisdictions:
                     District of Columbia           07/06/2021                      1720788
                   (State where admitted)            (Admission date)               (Attorney Identification Number)


                     (State where admitted)           (Admission date)              (Attorney Identification Number)


                     (State where admitted)           (Admission date)              (Attorney Identification Number)


B.      I state that I am currently admitted to practice in the following federal jurisdictions:


                   (Court where admitted)            (Admission date)               (Attorney Identification Number)


                     (Court where admitted)           (Admission date)              (Attorney Identification Number)


                     (Court where admitted)           (Admission date)              (Attorney Identification Number)

C.      I state that I am at present a member of the aforesaid bars in good standing, and that I will demean myself as an attorney
        of this court uprightly and according to law, and that I will support and defend the Constitution of the United States.

        I am entering my appearance for              ___________________________________________
                                                     (Applicant’s Signature)
                                                      06/16/2022
                                                     ___________________________________________
                                                     (Date)

           Name of Applicant's Firm    McDermott Will & Emery, LLP
           Address                     500 North Capital Street, NW Washington, DC 20001-1531
           Telephone Number            (202) 756-8000
           Email Address               cfomba@mwe.com

       I declare under penalty of perjury that the foregoing is true and correct.


                   06/16/2022
       Executed on __________________________                                     ______________________________________
                            (Date)                                                        (Applicant’s Signature)

                                                                                                                              04/20
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 II. SPONSOR’S STATEMENT, MOTION AND CERTIFICATE OF SERVICE

           The undersigned member of the bar of the United States District Court for the Eastern District of Pennsylvania
 hereby moves for the admission of Ngwika "Crystal" Fomba                                                             to practice
 in said court pursuant to Local Rule of Civil Procedure 83.5.2(b), and certify that I know (or after reasonable inquiry believe)
 that the applicant is a member in good standing of the above- referenced state and federal courts and that the applicant’s
 private and personal character is good. I certify that this application form was on this date mailed, with postage prepaid, to
 all interested counsel.

 Lesli C. Esposito                                                           11/23/2005                201916
 ______________________              _________________________               ____________________      ___________________
 (Sponsor’s Name)                    (Sponsor’s Signature)                   (Admission date)           (Attorney
                                                                                                       Identification No.)


 SPONSOR’S OFFICE ADDRESS AND TELEPHONE NUMBER:

   500 North Capital Street, NW
   Washington, DC 2001-1531
   (202) 756-8000




I declare under penalty of perjury that the foregoing is true and correct.

             06/16/2022
Executed on __________________________                          ____________________________________________
                       (Date)                                                (Sponsor’s Signature)
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                                   IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  UNITED STATES OF AMERICA ex                             :             Civil Action
  rel. ELLSWORTH ASSOCIATES, LLP                          :
                  v.                                      :
                                                          :
   CVS HEALTH CORPORATION, et al.                         :             No.: 2:19-CV-02553-JMY


                                             CERTIFICATE OF SERVICE

                                                                                       Ngwika "Crystal" Fomba
                 I declare under penalty of perjury that a copy of the application of _________________________,

Esquire, to practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) and the relevant proposed

Order which, if granted, would permit such practice in this court was served as follows:


Via CM/ECF.




                                                                        ____________________________________
                                                                        (Signature of Attorney)
                                                                         Lesli C. Esposito
                                                                        ____________________________________
                                                                        (Name of Attorney)
                                                                       Defendants CVS Health Corporation, CVS Pharmacy,
                                                                       Inc., SilverScript Insurance Company, LLC, and CVS
                                                                        ____________________________________
                                                                                        Caremark Corporation
                                                                        (Name of Moving Party)
                                                                         06/16/2022
                                                                        ___________________________________
                                                                        (Date)
